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                                                                                                        14   FACEBOOK, INC. and INSTAGRAM, LLC

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                                                                                                                                                UNITED STATES DISTRICT COURT
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                                                                                                                                         NORTHERN DISTRICT OF CALIFORNIA
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                                                                                                             FACEBOOK, INC. and INSTAGRAM, LLC,             Case No. 5:19-cv-07071-SVK
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                                                                                                                                  Plaintiffs,               DECLARATION OF DAVID J. STEELE IN
                                                                                                        19                                                  SUPPORT OF PLAINTIFFS’ EMERGENCY EX
                                                                                                                    v.                                      PARTE APPLICATION FOR A TEMPORARY
                                                                                                        20                                                  RESTRAINING ORDER FREEZING
                                                                                                             ONLINENIC INC.; DOMAIN ID SHIELD               DEFENDANTS’ ASSETS
                                                                                                        21   SERVICE CO., LIMITED; and XIAMEN
                                                                                                             35.COM INTERNET TECHNOLOGY CO.,                Hon. Susan van Keulen
                                                                                                        22   LTD.,

                                                                                                        23                        Defendants.

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                                                                                                                                                                             DECLARATION OF DAVID J. STEELE
                                                                                                                                                                                  CASE NO. 5:19-CV-07071-SVK
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                                                                                                         1          I, David J. Steele, declare as follows:

                                                                                                         2          1.      I am a partner at Tucker Ellis LLP, attorneys of record for Plaintiffs in this action. I make

                                                                                                         3   this declaration based on my personal knowledge and, if called as a witness, would testify competently to

                                                                                                         4   each of the following facts.

                                                                                                         5          2.      On March 20, 2020, Plaintiffs served their First Set of Requests for Production of

                                                                                                         6   Documents and Things to Defendant OnlineNIC, Inc., as well as their First Set of Requests for Production

                                                                                                         7   of Documents and Things to Defendant Domain ID Shield Service Co., Limited (collectively “Plaintiffs’

                                                                                                         8   Requests”).

                                                                                                         9          3.      Within Plaintiffs’ Requests were requests for production of documents identifying each
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                                                                                                        10   domain name for which either Defendant OnlineNIC, Inc. or Defendant Domain ID Shield Service Co.,

                                                                                                        11   Limited (collectively “Defendants”) was the registrant.

                                                                                                        12          4.      In response to Plaintiffs’ Requests, Defendants produced a database table comprising

                                                                                                        13   Defendants’ domain name portfolio. On July 21, 2021, Defendants’ counsel provided Plaintiffs’ counsel
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                                                                                                        14   a currently list of 685 domain names for which Defendants are the registrant (“Defendant’s Domain

                                                                                                        15   Names”). The list of Defendant’s Domain Names is attached as Exhibit 1.

                                                                                                        16          5.      Through their own investigation and due diligence conducted on July 20, 2021, Plaintiffs

                                                                                                        17   discovered that Defendants have initiated the transfer of hundreds of Defendant’s Domain Names on

                                                                                                        18   July 19 and 20, 2021 away from OnlineNIC, Inc. to another registrar.

                                                                                                        19          6.      Several representative samples of marked-up whois records are attached as Exhibit 2 show

                                                                                                        20   the that Defendants began transferring Defendant’s Domain Names. The “Domain Status” listed on each

                                                                                                        21   whois record shows a transfer to another registrar is currently pending, and the “Updated Date” shows the

                                                                                                        22   date the transfer was initiated.

                                                                                                        23          7.      A domain name portfolio represents tremendous value. The value of these domain names,

                                                                                                        24   if sold by an independent domain name broker, could be used to satisfy Defendants’ obligation to satisfy

                                                                                                        25   the Special Master’s invoices.

                                                                                                        26          8.      Following a late-night call between the parties’ respective counsel on July 20, 2021, once

                                                                                                        27   Plaintiffs discovered these transfers, Defendants’ counsel stated he had just learned about the transfers at

                                                                                                        28   6:00 p.m. that evening and had instructed his clients to cease all such transfers.

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                                                                                                                                                                                     DECLARATION OF DAVID J. STEELE
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                                                                                                         1          I declare under penalty of perjury under the laws of the United States of America that the foregoing

                                                                                                         2   is true and correct and that this declaration was executed on July 21, 2021 in Fullerton, California.

                                                                                                         3                                                                 /s/ David J. Steele

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